Case 6:17-cv-00919-CEM-GJK Document 89 Filed 09/17/18 Page 1 of 27 PageID 1078




                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF FLORIDA
                             ORLANDO DIVISION

     ESTATE OF IBRAGIM TODASHEV,                    Case No. 6:17-cv-919-Orl-41GJK

          Plaintiffs,

     v.

     UNITED STATES OF AMERICA, et al.,

          Defendants.


          PLAINTIFF’S MOTION TO ALTER OR AMEND JUDGMENT

          COMES NOW the Plaintiff, HASSAN SHIBLY, through counsel, pursuant

 to Rule 59(e), Federal Rules of Civil Procedure, and moves this Court to Alter or

 Amend its Judgment to prevent manifest injustice, and would further show:

     1.   Ibragim Todashev was a Russian citizen legally in the U.S. who trained at a

          Boston Gym with a person believed to be one of the Boston Marathon

          bombers, as well as with the Harvard Wrestling Team among others.1

     2.   Mr. Todashev was a talented amateur mixed martial arts fighter who

          Massachusetts State Police called a “person of interest” in a drug house

          murder.2 One of the state police officers said there was “nothing concrete.”3


 1
   Doc. 67-7, Interview with John Allen, owner of the Wai Kru martial arts gym, Boston,
 Massachusetts, p. 5:12-18.
 2
   Doc. 67-1, Interview with Joel Gagne, p. 5:1-3.
 3
   Id. at 5:1-3.


                                                1
Case 6:17-cv-00919-CEM-GJK Document 89 Filed 09/17/18 Page 2 of 27 PageID 1079




     3.   Another state police officer was quoted as calling Todashev a “suspect” but

          did not articulate why he suspected Todashev of criminal involvement.4

     4.   Massachusetts State Police officers, Defendant Joel Gagne and Curtis Cinelli

          traveled to Orlando, Florida, where Mr. Todashev lived, accompanied by an

          FBI agent, Aaron McFarlane, who may have thought he had information

          about the bombing.5 Along with Orlando policeman Christopher Savard,

          they summarily detained Todashev at gunpoint searched his house, seized

          his electronics, and interrogated him, all without a warrant.6

     5.   Thereafter, the four set up or participated in constant surveillance of Mr.

          Todashev and more interrogations. They appear to have set up another

          detention of Todashev after he was attacked by two men in a parking lot

          who wanted his parking space.7 The only witness to come forward, other

          than one of his attackers, was a security guard who said Todashev acted with

          restraint and strictly in self-defense.8 Nevertheless, as he left the mall where

          the attack occurred, Todashev was arrested at gunpoint and put on the

          ground by Orange County Sheriff’s deputies who appeared to be waiting for

          him.9 FBI vehicles lined up behind the sheriff’s vehicle, watching Todashev


 4
   Doc. 67-2, Interview with Curtis Cinelli, p. 8:20-24.
 5
   Doc. 67-1, Interview with Joel Gagne, p. 5:1-3.
 6
   Doc. 67-3, Interview with Tatiana Gruzedeva, p. 10-23.
 7
   Doc. 67-4, Interview with Christopher Savard, pp. 9:8-10:13.
 8
   Doc. 67-6, Interview with Security Guard Tariq Alli, p. 3.
 9
   Doc. 67-5, Interview with Deputy Anthony Riccaboni, pp. 4:1-8.


                                               2
Case 6:17-cv-00919-CEM-GJK Document 89 Filed 09/17/18 Page 3 of 27 PageID 1080




           who remained calm through the ordeal.10 Todashev never went to court

           because of his untimely death at the hands of the Defendants just days later.

      6.   Mr. Todashev was scheduled to go back to Russia to see his parents on May

           24, 2013.11 On hearing that the Defendants wanted to meet with him one

           more time to clear some things up, Todashev cooperatively cancelled his

           flight and agreed to meet with them at his home.12

      7.   Mr. Todashev asked that a friend of his, Khusen Taramov, be allowed to be

           present.13 The Defendants agreed. However, on the evening of the meeting,

           the friend arrived and was told he could not go into the apartment and had to

           wait outside in the parking lot.14 Later still, he was told to leave the area

           entirely by Orlando Policeman Savard.15

      8.   Once the meeting started, Todashev was not allowed to leave the apartment.

           He was followed by the officers wherever he went, including to the

           bathroom, and constantly observed.16 In the course of the interrogation, the

           officers began using provocative and offensive language with Todashev. At

           this point, Mr. Todashev would have realized he was not free to leave.17


 10
    Id. at 13:3-14:7.
 11
    Doc. 67-3, Affidavit of Tatiana Gruzdeva, p. 28.
 12
    Doc. 67-3, Affidavit of Tatiana Gruzdeva, p. 29.
 13
    Doc. 67-8, Affidavit of Khusen Taramov, p. 1:4.
 14
    Id. at 1:7.
 15
    Id. at 2:12.
 16
    Doc. 67-9, Statement of Aaron McFarlane, p. 5.
 17
    Id. at 5.


                                                 3
Case 6:17-cv-00919-CEM-GJK Document 89 Filed 09/17/18 Page 4 of 27 PageID 1081




      9.   FBI agent McFarlane and Massachusetts state policeman Cinelli stayed in

           Todashev’s apartment while Joel Gagne and Christopher Savard stood guard

           outside.18 At some point, the men outside received a text that something bad

           might happen.19 Then they heard a shout. Finally, two sets of shots rang

           out.20 When they entered, Todashev was on the floor near the front door.21

      10. Ibragim Todashev lay with his feet about one step from the front door. A red

           broomstick was placed length-wise under his body.22 It bore no viable

           fingerprints.23 Todashev had been shot three times in the back and once in

           the head. A forensic team arrived and was told to come back later.24

      11. Massachusetts State Policeman Curtis Cinelli would later tell a state

           attorney’s investigator that he was standing at the back of the apartment

           when he heard a noise and saw FBI Agent McFarlane with a bleeding head

           wound. He said that he drew his gun and then re-holstered it since he said he

           believed Todashev was leaving the apartment.25




 18
    Id. at 1:4.
 19
    Doc. 67-4, Interview with Christopher Savard, p. 13:12-22.
 20
    Id. at 19-20.
 21
    Doc. 67-1, Gagne Interview, p. 22.
 22
    Doc. 67-4, Interview with Christopher Savard, p. 25:5-10.
 23
    Doc. 67-11 at 10, Civil Rights Division Report.
 24
    Doc. 67-10, Interview with Dan Coughlin, pp 3:11-14; 7:3-8; 8:5-7.
 25
    Doc. 67-2, Interview with Curtis Cinelli, Pp. 31-32.


                                                4
Case 6:17-cv-00919-CEM-GJK Document 89 Filed 09/17/18 Page 5 of 27 PageID 1082




      12. Cinelli said Todashev grabbed a broomstick next to the front door and ran at

          him (Cinelli) with the red broomstick in both hands over his head “like a

          javelin.” Cinelli said he believed Todashev was trying to impale him.26

      13. In McFarlane’s version, Todashev didn’t have a weapon although he might

          have looked for one in the kitchen. McFarlane also described Todashev as

          running toward the officers at the back of the apartment at “full speed.”27

      14. McFarlane said he fired seven rounds at Todashev in two sets of either three

          or four. After the first set, Todashev fell and then got back up again. After

          the second set, he fell and did not move.28

      15. The broomstick was not found as it would have been if he was holding it

          over his head when he was hit.29

      16. Despite both Cinelli and McFarlane saying Todashev was running toward

          the back of the apartment, his body was found next to the front door.30




 26
    Id. at 23:13-18.
 27
    Doc. 67-9, Statement of Aaron McFarlane, Pp. 7-8.
 28
    Id. p. 8.
 29
    Doc. 61-2 at 5, Cinelli Statement, “As he grabbed the pole, Todashev turned quickly toward
 me and raised the pole above his head with both hands.” Doc. 67-2, Interview with Curtis
 Cinelli, pp. 24-25, “He had the broom handle up and he began to run at me. . . . The broom
 handle was over his right shoulder, in the air in a position as if, um, if it came and struck, it
 would impale someone.” Doc. 75-1 at 11, Statement of Aaron McFarlane. “Todashev instantly
 ran at full speed from the kitchen directly towards me and Trooper Cinelli.”
 30
    Doc. 67-10 at 3, Coughlin Interview, “The body was face down on the floor, about three feet
 in from the door, right by the side of the kitchen door.”


                                                  5
Case 6:17-cv-00919-CEM-GJK Document 89 Filed 09/17/18 Page 6 of 27 PageID 1083




      17. Two of the bullets entering Todashev’s upper chest had passed through his

          upper arm, suggesting that he was not holding anything over his head with

          both hands when he was shot.31

      18. The Defendants were highly resistant to discovery and so Plaintiff began

          discovery efforts by serving Fed.R.Civ.P. 45 subpoenas on the City of

          Orlando, the Office of the State Attorney, and the Sheriff of Orange County.

      19. On April 25, 2918, before discovery requests could be responded to, the

          Court stayed discovery pending resolution of qualified immunity (Doc. 79).

      20. On August 17, 2018, the Court granted all pending Motions to Dismiss and

          the government’s pre-discovery Motion for Summary Judgment (Doc. 87).

      21. On August 20, 2018, the Court entered Judgment in the case. (Doc. 88).

      22. Plaintiff submits the Judgment is in error as follows:

          a. In its Order on the pending dispositive motions (Doc. 87) the Court

              speaks of “additional discovery” as if it believed some discovery had

              already taken place. In fact, no discovery had been produced at the time

              that discovery was stayed by the Court. It appears that the Court

              misapprehended the status of discovery at the time it was stayed.




 31
     Doc. 67-11, n. 3, Civil Rights Division Report, “Two bullets which initially entered the left
 arm and re-entered into the left side of the chest.” This suggests his arms were not over his head
 but his left upper arm was pulled into his left chest.


                                                  6
Case 6:17-cv-00919-CEM-GJK Document 89 Filed 09/17/18 Page 7 of 27 PageID 1084




       b. Defendants claimed to have video and audio of events before Todashev

          was killed. But the video was never produced to the parties or the Court.

       c. The story of how Mr. Todashev was killed and what he and the officers

          were doing before and during the time he was killed have not been set

          forth in any coherent, non-contradictory form. To resolve the matter on

          the merits, retaining a criminalist, a ballistics expert, and a blood spatter

          expert would have been extremely important. Autopsy photos and scene

          photos should have been produced, along with videos and other evidence.

          This was prevented by the Court’s rulings.

       d. The Court drew multiple inferences in the light most favorable to the

          defense and against the non-moving party. The Court weighed evidence.

                            MEMORANDUM OF LAW

       Motions to alter or amend judgment are granted upon four basic grounds:

 movant may demonstrate that reconsideration is necessary to correct manifest

 errors of law or fact upon which judgment was based; a motion may be granted so

 that moving party may present newly discovered previously unavailable evidence;

 a motion will be granted if necessary to prevent manifest injustice; and a motion

 may be justified by intervening change in controlling law. Demasse v. ITT Corp.,

 915 F.Supp. 1040 (D.Ariz.1995).

       A district court has considerable discretion in deciding whether to reopen a



                                           7
Case 6:17-cv-00919-CEM-GJK Document 89 Filed 09/17/18 Page 8 of 27 PageID 1085




 case in response to a motion to alter or amend judgment, but that discretion is not

 limitless; in any case in which a party seeks to upset a summary judgment on the

 basis of evidence that was not introduced on time, court must consider conflicting

 needs to bring litigation to an end and to render just decisions on the basis of all of

 the facts. Lavespere v. Niagara Mach. & Tool Works, Inc., C.A.5 (La.) 1990, 910

 F.2d 167, rehearing denied 920 F.2d 259, certiorari denied 114 S.Ct. 171, 510 U.S.

 859, 126 L.Ed.2d 131. Fed. R. Civ. P. 59. A motion to alter or amend may be

 granted where there is a need to correct clear error or prevent manifest injustice.

 Firestone v. Firestone, 76 F.3d 1205, 1208, (D.C. Cir. 1966)

       The rule governing motions to alter or amend judgment does not prescribe

 specific grounds for granting a motion to alter or amend an otherwise final

 judgment. Sanluis Developments, L.L.C. v. CCP Sanluis, L.L.C., S.D.N.Y.2008,

 556 F.Supp.2d 329. A motion to alter or amend judgment should be granted if

 there exists a manifest error of law or fact, so as to enable the court to correct its

 own errors and avoid unnecessary appellate procedures. Kennedy v. Common-

 wealth Edison Co., C.D.Ill.2003, 252 F.Supp.2d 737, affirmed 410 F.3d 365.

       Rule One of the Federal Rules of Civil Procedure, states that the Federal

 Rules of Civil Procedure “should be construed, administered, and employed by the

 court and the parties to secure the just, speedy, and inexpensive determination of

 every action and proceeding.” Despite this guiding light, the Court has lost its way.



                                             8
Case 6:17-cv-00919-CEM-GJK Document 89 Filed 09/17/18 Page 9 of 27 PageID 1086




    A. The Court Improperly Granted Defendants’ Motions to Dismiss

       The Court seems to impose a “summary judgment” standard on its review of

 the pleadings on defense motions to dismiss. At one point the Court faults Plaintiff

 for failing to “demonstrate” a fact, rather than plausibly plead it. (Doc. 87 at 9).

       1. The Court Impermissibly Weighed Facts in Granting Dismissal

        “Credibility determinations, the weighing of the evidence, and the drawing

 of legitimate inferences from the facts are jury functions, not those of a judge,

 whether he is ruling on a motion for summary judgment or for a directed verdict.

 The evidence of the nonmovant is to be believed, and all justifiable inferences are

 to be drawn in his favor.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 255, 106

 S. Ct. 2505, 2511, 91 L. Ed. 2d 202 (1986). A court must, rather, act "with caution"

 in determining whether the matters at issue should be heard by a jury. Id. at 255. A

 jury could reasonably infer from the evidence that the actions of the Defendants

 violated the U.S. Constitution. Even as to the actions that were after the fact, they

 can serve as evidence of the intent that drove events.

       2. The Court Selectively Excludes Key Facts from Consideration

       The recounting of facts by the Court selects, ignores, and shades facts in a

 way that raises inferences in favor of the Defendants. For instance, the Court

 quotes Plaintiff as pleading (DE 48, Second Am. Compl. ¶ 27) that the FBI became

 interested in Todashev because of his “association” with Tamerlan Tsarnaev, one



                                            9
Case 6:17-cv-00919-CEM-GJK Document 89 Filed 09/17/18 Page 10 of 27 PageID 1087




 of the Boston Marathon bombers. But Plaintiff actually said, “because he trained

 at a gym with Tamerlan Tsarnaev.” Plaintiff has taken pains to note Todashev also

 trained with the Harvard Wrestling Club. The inference that is suggested by an

 “association” is more personal than that suggested by “training together.”

       The Court also quotes the Second Amended Complaint to say Plaintiff was

 questioned on April 21, 2013, and summoned for questioning on April 22, 2013

 and May 15, 2013. However, the Court ignores the critical prelude when on April

 21, 2013, Defendants forced Todashev to the ground at gunpoint outside his

 apartment, searched the apartment, arrested him, seized his electronics, and

 interrogated him, all without probable cause. ¶ 37-39. Defendants also turned his

 girlfriend over to immigration when she declined to spy on Todashev. ¶ 57-59.

       The Court fails to take these illegal actions by Defendants into account and

 ignores that Todashev’s friend who was barred from the apartment had been

 brought as a witness to what was supposed to be an entirely voluntary meeting. ¶

 73. These facts, together with the admission of Defendant Gagne that Todashev

 was, at the time, merely a “person of interest” and that Defendants had “nothing

 concrete,” ¶ 30, are critical components of Plaintiffs case and give rise to a whole

 set of inferences that are key to understanding the dynamics of what comes later.

       In recounting the pled facts, the Court also leaves out the important events

 inside the apartment leading up to the shooting. It is important to include that



                                           10
Case 6:17-cv-00919-CEM-GJK Document 89 Filed 09/17/18 Page 11 of 27 PageID 1088




 officers followed Todashev everywhere in the apartment, even to the point of

 watching him urinate. ¶ 77, 78. These facts belie the Court’s claim that Todashev

 was not detained during the five-hour interrogation. They would also explain the

 fear and anxiety that Defendants tried to characterize as consciousness of guilt and

 yield an inference to explain his desire to flee the scene at the earliest time.

       Also missing from the Court’s facts were the many features of the known

 physical evidence that were inconsistent with the versions of the shooting given by

 the Defendants, which also differed from each other. The Court did not note that

 Todashev had been shot three times in the back, twice in the left arm and once in

 the top of the head. ¶ 90. The Defendants disagreed as to whether Todashev had a

 weapon or what it was. ¶ 99-103. Cinelli claimed he held a pole above his head

 with both arms but bullets going through Todashev’s left upper arm into his left

 chest are inconsistent with Cinelli’s scenario. ¶ 102-03.

       As against the invitation of the Defendants to draw inferences in their favor,

 the U.S. Supreme Court decision, Tolan v. Cotton, 134 S.Ct. 1861 (2014), held:

       The witnesses on both sides come to this case with their own perceptions,
       recollections, and even potential biases. It is in part for that reason that
       genuine disputes are generally resolved by juries in our adversarial system.
       By weighing the evidence and reaching factual inferences contrary to
       Tolan's competent evidence, the court below neglected to adhere to the
       fundamental principle that at the summary judgment stage, reasonable
       inferences should be drawn in favor of the nonmoving party.

 134 S. Ct. at 1868. Tolan raises nothing new; it only reinforces the Fed.R.Civ.P.


                                            11
Case 6:17-cv-00919-CEM-GJK Document 89 Filed 09/17/18 Page 12 of 27 PageID 1089




 56(a) prohibition against weighing evidence and only granting summary judgment

 when it can truly be said that there is “no genuine dispute as to any material fact

 and that the movant is entitled to judgment as a matter of law.” Id.

       Courts may not resolve genuine issues of fact in favor of the party seeking

 summary judgment and the Supreme Court has recently emphasized that, “Our

 qualified immunity cases illustrate the importance of drawing inferences in favor

 of the nonmovant.” Tolan v. Cotton, 134 S.Ct. 1861, 1866 (2014). The Eleventh

 Circuit Court of Appeals has noted the special demands of a death in custody:

       Because the plaintiff in this action is deceased and there is no complete
       witness testimony, we necessarily rely on the facts presented by the
       defendants, but where there is a discrepancy between the statements of the
       defendants, we have resolved the dispute by using only those statements
       most favorable to the plaintiff.

 McCullough v. Antolini, 559 F.3d 1201, 1202 (11th Cir. 2009)

       It goes without saying that when there is a discrepancy between the

 defendants’ statements and the physical evidence, the same rule must apply.

       3. Inference That Todashev Would Not Have Felt Free to Leave


       The Court avoids drawing the inference that Todashev would have felt he

 was not free to leave by the fact that agents barred from his apartment the friend he

 had brought as a witness at what was supposedly a voluntary meeting, that he was

 followed everywhere in the apartment by one or more agents who even described

 in detail how he urinated. The Court cites United States v. Opoku, 210 F.App’x


                                           12
Case 6:17-cv-00919-CEM-GJK Document 89 Filed 09/17/18 Page 13 of 27 PageID 1090




 848 (11th Cir. 2006) a non-precedential case from a very different factual record

 where agents “kept [the subject] in sight” during an interview that lasted only 45 to

 60 minutes and did not reference watching the subject urinate. The Court states

 that Plaintiff “fails to demonstrate” that the Defendants “restrained Todashev’s

 freedom of movement.” That is not the here. The issue in Opoku, if it applies at all,

 arose on a motion to suppress in a criminal case, prior to trial. As here, the officers

 denied a seizure had taken place. In a motion to dismiss, a criminal defendant

 claiming a Fourth Amendment violation bears the burdens of proof. United States

 v. Cooper, 133 F.3d 1394, 1398 (11th Cir.1998). But here, if the Plaintiff plausibly

 pleads and a jury could reasonably infer that Todashev would have felt that he was

 not free to leave, then the jury could find a Fourth Amendment seizure. This

 inference can come not only on the circumstances of the interrogation but also the

 fact of the April 21, 2013, gunpoint arrest, search, seizure, and interrogation

 without probable cause. (¶ 36-39). The Defendants’ prior conduct creates a strong

 inference that Todashev would not have felt free to leave the apartment.32

        4. Plaintiff Pled A Fourth Amendment Violation Against Savard


 32
    The Court states that “as to Plaintiff’s unlawful seizure claims, the SAC is devoid of sufficient
 facts to state a claim for relief that is plausible on its face.” However, the Court, in recounting the
 salient facts, failed to recognize the significance of the previous course of illegal conduct in
 arresting Todashev in front of his apartment, at gunpoint, and conducting an illegal search and
 interrogation without probable cause.” (Doc. 87 at 2) It is critical to recognize the contribution of
 those prior incidents to any inference as to Todashev’s sense that he was free to leave. Also,
 given that Todashev was raised abroad, he may not have known that the United States is a nation
 of laws, not of men – or, given his experiences with Defendants, may not have believed it.


                                                   13
Case 6:17-cv-00919-CEM-GJK Document 89 Filed 09/17/18 Page 14 of 27 PageID 1091




        For many of the same reasons that Plaintiff has properly pled a Fourth

 Amendment violation in the circumstances of the interrogation on the night of Mr.

 Todashev’s death against the officers in the apartment and those guarding the

 apartment from outside, the Plaintiff has pled a case against Savard.

        Defendant pled Savard was involved in the original Fourth Amendment

 violation of the unlawful arrest, search, and interrogation on April 21, 2013, (¶ 36-

 39) and by dint of his planning and failure to intervene to prevent the Fourth

 Amendment violation of May 22, 2013, ending with Todashev’s wrongful death,

 Savard was liable for the violation as surely as if he had committed the violation

 alone. Although there was a closed door between Savard and the officers inside,

 there was both a text and a shout to warn Savard of harm to Todashev. Officers can

 be responsible for excessive force when they are in communication with those who

 commit a wrongful act and fail to intervene as they are able. Priester v. City of

 Riviera Beach, 208 F.3d 919, 925 (Fla. 11th Cir. 2000) (Whether a second officer

 who neither ordered or participated in a use of force where the second officer was

 aware of the event and in voice contact with the first, was a question for a jury).

 Cinelli was texting from inside the apartment and Savard was in voice contact.33


 33
   The Court has stated that “Because Plaintiff has failed to state a claim for unlawful seizure or
 excessive force, the Court need not address the Individual Defendants’ argument that they are
 entitled to qualified immunity.” Plaintiff submits that the Court misapprehended the salient
 factors from which an inference supporting Fourth Amendment violations could be taken, it
 should also be noted that qualified immunity was not due to the officer who was remote but in
 voice contact with the officer using force, but who failed to intervene. Priester, 208 F.3d at 927.


                                                  14
Case 6:17-cv-00919-CEM-GJK Document 89 Filed 09/17/18 Page 15 of 27 PageID 1092




           In any case, Plaintiff has pled that Savard was involved in a whole series of

 Fourth Amendment violations. The question is just whether Plaintiff has plausibly

 made an allegation that could support a reasonable inference as to any of them.

           5. Plaintiff Has Shown an Actionable Wrong to Support Conspiracy

           Plaintiff has pled a constellation of Fourth Amendment violations in this

 case. Again, by failing to take notice of critical pled facts that support an inference

 of Fourth Amendment violations by all the Defendants, the Court has blinded itself

 to the basis of the Count for Conspiracy. The unlawful detention on May 22, 2013,

 (which was set up by Savard) resulting in Mr. Todashev’s death was just one of

 several. The April 21, 2013, arrest, search, seizure of property, and interrogation

 was another. Defendant Gagne had already explicitly admitted that Todashev was

 just a “person of interest” and they had “nothing concrete.” There was no probable

 cause for the warrantless Fourth Amendment searches and seizures that took place

 on that date. It was the government exercising raw power without apology.

           The unjustified seizure by Orange County Deputies at the instance of

 Defendants was another such example. Once again, Mr. Todashev was placed on

 the ground at gunpoint. A caravan of SUV’s of government agents lined the road

 behind the arrest.34 Defendants had been conducting surveillance for weeks.

           The Court relies on Grider v. City of Auburn, 618 F.3d 1240, 1260 (11th Cir.


 34
      Doc. 67-5 at 13-14.


                                              15
Case 6:17-cv-00919-CEM-GJK Document 89 Filed 09/17/18 Page 16 of 27 PageID 1093




 2010) to demonstrate Plaintiff’s burden to show the denial of some underlying

 constitutional right. But Grider was a case decided on summary judgment, post-

 discovery, on a completed record. In the instant case, Plaintiff was forced to defend

 his pleadings without the first stick of discovery. Still, Plaintiff has shown

 actionable wrongs to support a conspiracy.

       Likewise, Plaintiff has made particularized allegations that a conspiracy

 exists. Spadaro v. City of Miramar, 855 F. Supp. 2d 1317, 1346 (S.D. Fla. 2012),

 citing Hansel v. All Gone Towing Co., 132 F.App’x 308, 309 (11th Cir. 2005).The

 allegation that the Defendants, Gagne, Cinelli, and Savard, acted in concert to seize

 Todashev, and to detain him, to ensure there were no witnesses to constitutional

 abuses, to prevent the discovery of the abuses. These allegations are neither vague

 nor conclusory. They are tracked by facts that elaborate the allegations. In the plan

 made by Savard and adopted by the others, Todashev was seized at gunpoint, his

 apartment searched, he was detained, and interrogated. Through the efforts of all

 three conspirators, a second seizure occurred May 22, 2013, the night Todashev

 was killed, involving Savard, Cinelli, and Gagne, met for a common purpose to

 violate Todashev’s rights. In any case, Plaintiff’s pleadings contain “sufficient

 factual matter, accepted as true, to ‘state a claim to relief that is plausible on its

 face.’” Ashcroft v. Iqbal, 556 U.S. 662, 129 S.Ct. 1937, 1949 (2009).

       6. Amendment, if Needed, Would Not Have Been Futile



                                             16
Case 6:17-cv-00919-CEM-GJK Document 89 Filed 09/17/18 Page 17 of 27 PageID 1094




       Plaintiff did not seek to amend the Second Amended Complaint because it

 was not due to be dismissed. Had any discovery whatever been permitted in the

 case, however, further amendment might have been in order in response to the

 inevitable twists and turns that come with discovery and testing of evidence. In any

 case, further amendment would not have been barred as “futile.”

       Although Plaintiff disagrees that he has not pled a claim to relief that is

 plausible on its face, he also disagrees (1) he has been responsible for undue delay,

 bad faith, dilatory motive, or repeated failure to cure deficiencies by amendment,

 (2) nor would amendment cause undue prejudice to the opposing party, (3) nor

 would it be futile. Corsello v. Lincare, Inc., 428 F.3d 1008, 1014 (11th Cir. 2005).

 In fact, where the government and a host of third parties hold known material

 evidence just out of sight, including photographs, writings, and recordings, where

 Plaintiff has been forced to litigate without any discovery at all, it would be

 premature to assert any of those bars to amendment. Plaintiff fully expected to

 receive some course correction during discovery as is always the case – except in

 this case, where discovery simply didn’t exist. The Court’s impatience with

 Plaintiff’s efforts to plead, citing Corsello to the effect that “This is the third

 complaint that Plaintiff has filed in this action, yet Plaintiff has failed to properly

 amend [his] complaint . . .” apparently as an indictment of Plaintiff, does not

 square with the facts of Corsello or the famously liberal standards for amendment



                                             17
Case 6:17-cv-00919-CEM-GJK Document 89 Filed 09/17/18 Page 18 of 27 PageID 1095




 in the federal rules. Ironic that if half of what the Defendants suggest are the facts

 were true, then opening up discovery would dispose of this case on the merits in

 good order. But the fact is that the Defendants have bitterly fought any disclosure

 of any evidence with the exception of a couple of interviews from which some

 redactions were removed just to the extent that it served defense purposes.

       In Corsello, the plaintiff sought to amend his complaint and the district court

 denied the motion to amend because (1) Corsello waited a year after the dismissal

 of one of the defendants to file a motion to file a third amended complaint against

 the other, and (2) the proposed third amended complaint would not have cured the

 deficiencies of the second. It should be noted that Corsello v. Lincare, 1:98-cv-

 204, Northern District of Georgia, was first filed January 22, 1998. An amended

 complaint was filed 18 months later July 14, 1999. A second amended complaint

 was filed January 13, 2000. A proposed Third Amended Complaint would have

 been filed more than five years after the action began. 428 F.3d at 1011. The two

 cases are not apples and oranges, they are watermelons and grapes.

       Stevens v. Gay, 864 F.2d 113 (11th Cir. 1989) is more of the same. The

 plaintiff appealed the court’s denial of his motion to amend. But the plaintiff failed

 to move to amend for 16 months after the circuit court reversed and remanded the

 denial. Id. at 116. Like Corsello, this is a denial on a motion to amend, where the

 proposed amendment was unconscionably late and made just shortly before trial. It



                                           18
Case 6:17-cv-00919-CEM-GJK Document 89 Filed 09/17/18 Page 19 of 27 PageID 1096




 should be noted that the court did permit the action to proceed to trial. Id. at 113.

      B. The Court’s Grant of Summary Judgment to McFarlane Was Improper

        As with the Motions to Dismiss, the Court impermissibly weighed evidence

 and drew inferences for Defendant McFarlane and against the non-moving party.35

        The Court frequently uses words that carry a connotation that is adverse to

 the Plaintiff. For instance, the Court cites Plaintiff’s Complaint to note Todashev’s

 “association” with Tamerlan Tsarnaev, one of the Boston Marathon bombers.

 (Doc. 87 at 15). But Plaintiff never spoke of Todashev as an associate of Tsarnaev

 but that he “trained at a Boston gym with Tsarnaev” (which the Court also quotes

 after saying that they had an “association.” Plaintiff has never alleged Todashev

 was an associate or friend. Todashev pointedly denounced what Tsarnaev later did.

 He also noted Todashev trained with the Harvard Wrestling Team.36 That hardly

 means they had an “association.” It may seem like a small thing, but it is not.

        In describing events leading up to the evening of the shooting, (Id.) the

 Court once again ignored the April 21, 2013, incident in which the Defendants

 place Todashev down on the ground at gunpoint, search his home, seize his



 35
    At this point, the Court, in a footnote, states that “While Plaintiff claims to dispute many of
 these facts, he merely asserts conclusory statements to indicate his disagreement and fails to
 provide any evidence to demonstrate that a material dispute of fact exists.” While Plaintiff
 disputes this in general, the criticism does serve as a reminder of why it is so important not to be
 deprived of discovery in the course of a fact-intensive federal lawsuit.
 36
    Doc. 67 at 6, citing 67-7, Interview with John Allen, owner of the Wai Kru martial arts gym,
 Boston, Massachusetts, 5:12-18


                                                  19
Case 6:17-cv-00919-CEM-GJK Document 89 Filed 09/17/18 Page 20 of 27 PageID 1097




 electronics, and interrogate him.37 This incident can’t be ignored not only because

 it is a stand-alone Fourth Amendment violation, but also because it sets the stage

 for both the unlawful use of deadly force that resulted in Todashev’s death.

        The Court states that McFarlane “knew” that Todashev had been arrested for

 a road rage incident but doesn’t say how he knew that and whether there was some

 credible source or a resulting conviction. (Doc. 87 at 15). There is no indication

 Todashev had ever been convicted of anything. McFarlane apparently wrongly

 believed Todashev had fought with someone who “lost several teeth” in the fight

 but the victim said that wasn’t so. (Doc. 67-14, Garcia Tr. At 6:13-20). McFarlane

 “assessed Todashev’s “inclination and ability for physical violence” to be eight out

 of ten. But, in fact, McFarlane’s “research” was superficial and mostly wrong.38

 There was no “criminal record” if that is understood to mean convictions.39

        In shooting cases, law enforcement defendants often freight their reports

 with dramatic language. The fact that Todashev used the bathroom three or four

 times in five hours gives McFarlane a “heightened sense of awareness for his and

 Cinelli’s safety.” (Doc. 87 at 16, citing Doc. 61-1 at 9, McFarlane Statement). The



 37
    Doc. 67-3, Tatiana Gruzdeva Affidavit. Cinelli also mentioned being at the contact with
 Todashev on April 21, 2013. Doc. 67-2 at 6.
 38
    The only disinterested witness described the “fight” as Todashev defending himself from an
 attack. Doc. 67-6, Alli Interview, p. 3:17-21.
 39
    “There is nothing particularly vague about the phrase ‘prior criminal record;’ it would be
 reasonably clear to any juror of ordinary intelligence that a defendant's prior criminal record
 consists of his past convictions.” Zant v. Stephens, 462 U.S. 862, 918 (1983).


                                                20
Case 6:17-cv-00919-CEM-GJK Document 89 Filed 09/17/18 Page 21 of 27 PageID 1098




 Court quotes Cinelli as saying Todashev was moving noticeably slow, almost

 methodically, making him think Todashev might try to flee or attack him.40

 Nevertheless, minutes later, neither McFarlane or Cinelli were paying any attention

 to Todashev.41 The Court says Todashev threw a white table at McFarlane.42 No

 one claims to have seen Todashev throw the table.43 It could have been launched

 by a quick movement that was not deliberate. Discovery and the efforts of the

 Plaintiff’s forensic experts might answer that question.

        Whatever happened, Cinelli stated that he drew his weapon and then put it

 back in the holster. Apparently, Cinelli did not then believe it was appropriate to

 use deadly force. In his interview, he has this exchange:44

        JA:     Ok, and obviously you did not pull your gun?

        CC: No, I had, I had pulled my weapon and then went back down because
        he was attempting, ah, my opinion, was attempting to flee out the front door
        and then that’s when I went back down . . .

        In discussing the events of the interview, the Court adopts the inference of

 the Defendants that Todashev’s demeanor suggested consciousness of guilt. The

 Court wrote that he was “very stressed, and it seemed increasingly likely that



 40
    Id., citing Doc. 61-2 at 4. The Court calls this “continuing erratic behavior.” Doc. 87 at 16.
 41
    Doc. 61-1 at 10, McFarlane Statement. “I was reading my notepad when I heard a loud noise
 and suddenly felt a blow to the back of my head. Doc. 61-2 at 5, Cinelli Statement. “As I was
 looking at my phone I heard a roaring noise, looked up and saw the table between Todashev and
 SA McFarlane rise up and fly toward SA McFarlane.”
 42
    Id.
 43
    Id.
 44
    Doc. 67-2, Cinelli Interview.


                                                21
Case 6:17-cv-00919-CEM-GJK Document 89 Filed 09/17/18 Page 22 of 27 PageID 1099




 Todashev might physically react to the questioning.”45 Taken in context, it seems a

 justifiable inference that Defendants were goading Todashev with aggressive and

 insulting questions. At one point, he says, “Don’t talk to me like that.”46

        The Court then makes the unduly accusatory statement “Todashev

 acknowledged his involvement in the Waltham murders and agreed to write a

 statement.”47 Cinelli does say something almost like that: “Eventually Todashev

 began to acknowledge some involvement in the Waltham homicides.”48 But

 McFarlane says something significantly different: “[H]e was going to tell us some

 information regarding the homicides.”49 These are the kind of inconsistencies that

 depositions help resolve. It also suggests it would have been helpful if Defendants

 had turned over the video recordings they had been making that evening.50

        At the moment of the shooting, the Court admits McFarlane and Cinelli’s

 recollection of the events “diverge somewhat; however. the differences in their

 recollections are immaterial.”51 Far from it. The moment of the shooting is the key




 45
    Doc. 87 at 16.
 46
    Doc. 67-9 at 5, McFarlane Statement. This statement immediately precedes the language about
 stress level and possibility of a physical reaction but casts it in a very different light.
 47
    Doc. 87 at 16.
 48
    Doc. 61-2 at 4.
 49
    Doc. 61-1 at 8.
 50
    There were apparently a lot of recordings. Cinelli spoke of “observing the video, and from his
 actions that had been observed.” Doc. 67-2 at 6. The State Attorney’s investigator mentions that
 he “watched the videos and the, or the video and the um, listen to the recordings. Doc. 67-2 at
 12. Cinelli agrees that he captured some video on a recorder and on his phone. Id. at 13-15.
 51
    Doc. 87 at 17.


                                                22
Case 6:17-cv-00919-CEM-GJK Document 89 Filed 09/17/18 Page 23 of 27 PageID 1100




 moment from the standpoint of legal analysis. Cinelli says just before shots are

 fired, he sees Todashev charging at him with a red pole held over his head with

 both hands. McFarlane sees him charging “at full speed” but with no weapon. This

 is important because the red pole is found tucked under Todashev in a way that

 would be unlikely if he had been holding it with both hands over his head. Also,

 the red pole bore no viable fingerprints. Add to that the fact that after being shot

 while charging to the back of the apartment, his body is found next to the front

 door.52 Nothing in the statements of either officer explain how Todashev suffered

 three bullet wounds in his back. The Court’s cool dismissal of all the questions that

 forensic experts spend their whole careers preparing to answer is especially

 disheartening to a Plaintiff and survivors who have lost a child and badly need

 those answers – as does the whole institution of justice.

       C. Pre-Discovery Grant of Summary Judgment Is Disfavored

           In the course of the Court’s Order, it appears that the Court misapprehends

 the state of discovery when the Magistrate stayed discovery in that the Court states

 that the Magistrate “entered an Order denying Plaintiff’s request for additional

 discovery (emphasis added).” (Doc. 79 at 8). In fact, there had been no discovery

 produced at all when the stay cut off any responses to Plaintiff’s three pending

 Fed.R.Civ.P. 45 subpoenas to the Orlando Police Department, the Orange County


 52
      Doc. 67-10 at 4:19-22.


                                             23
Case 6:17-cv-00919-CEM-GJK Document 89 Filed 09/17/18 Page 24 of 27 PageID 1101




 Sheriff’s Department, and the Office of the State Attorney, which had conducted

 an investigation of the shooting.53

        Defendants claimed to have abundant evidence supporting the necessity of

 shooting Ibragim Todashev. They had video with audio, photographs, a writing

 purportedly by Mr. Todashev and purportedly inculpatory, ballistic and blood

 evidence, among other things. Had the Defendants been forthcoming and had the

 evidence supported their contentions as they claimed, the case would have been

 resolved on the merits long ago. This, however, was not their wish.

        Summary Judgment motions made prior to adequate discovery are usually

 premature and hence disfavored. See, e.g., Americable Int'l Inc. v. Dep't of Navy,

 129 F.3d 1271, 1274 (D.C.Cir.1997); Tabb v. District of Columbia, 477 F.Supp.2d

 185, 188 n. 1 (D.D.C.2007); Iacangelo v. Georgetown Univ., Civil Action No. 05–

 2086, 2007 WL 915224, at *3 (D.D.C. Mar. 26, 2007). Bourbeau v. Jonathan

 Woodner Co., 600 F. Supp. 2d 1, 3 (D.D.C. 2009); see also Celotex, 477 U.S. at

 322, 106 S.Ct. 2548 (summary judgment is normally appropriate after “adequate

 time for discovery”); Tabb v. District of Columbia, 477 F.Supp.2d 185, 188 n. 1

 (D.D.C.2007) (noting that a pre-discovery summary judgment motion “usually is a


 53
   The sources from which all parties were litigating, at least at the beginning, were mostly
 media-supplied records and other publicly-available records that had been highly redacted. Later,
 the government began to produce less-redacted versions of documents in their possession as the
 less-redacted documents served the purposes of their arguments. No video or audio and few
 photographs were produced. Defendant U.S.A. filed one photograph under seal without ever
 providing a copy to the Plaintiff despite his request. (Doc. 62).


                                                24
Case 6:17-cv-00919-CEM-GJK Document 89 Filed 09/17/18 Page 25 of 27 PageID 1102




 disfavored practice”). Here, the motions for summary judgment were filed prior to

 full and fair discovery. The question, then, is whether the record now before the

 Court is sufficient to warrant summary judgment for the Defendants at this stage in

 the proceedings. See Thompson v. Fathom Creative, Inc., 626 F. Supp. 2d 48, 53

 (D.D.C. 2009). In order to fully respond to the allegations in the affidavits and

 other papers of the United States and the other Defendants, Plaintiff was due an

 opportunity to review and test all the evidence.

      D. Plaintiff Should Have Received Relief under Fed.R.Civ.P. 56(d)

        It was well known in this case through waves of motions to dismiss and two

 motions to stay discovery, and through the pleadings, that ample evidence was

 claimed by the Defendants to exist that would clearly show the truth of their (albeit

 contradictory) defenses. Throughout these motions and especially in his response

 (Doc. 76) to the USA Pre-Discovery Motion for Summary Judgment (Doc. 75),

 Plaintiff has made broad references to the things that were needed.54 In the opening

 sentence of his response, Plaintiff listed the questionable claims that were being

 advanced by the Defendants “without benefit of discovery.” (Doc. 76 at 1).

        Defendants revealed just enough self-serving information to bolster their

 defenses. For instance, in their Motion for Summary Judgment, they produced for



 54
   It has long been a discovery trick for a responding party to demand the requesting party “list”
 the records he or she is seeking, rather than rely on broad descriptions of records. Of course it is
 uniquely within the knowledge of the responding party how their information is kept.


                                                  25
Case 6:17-cv-00919-CEM-GJK Document 89 Filed 09/17/18 Page 26 of 27 PageID 1103




 the first time McFarlane’s after-action report with only two redactions rather than

 75 (Doc. 75-1) (demonstrating that there was no real reason for the other 73). In

 the response (Doc. 76), Plaintiff highlighted the following discovery problems:

       • Redacted NCIC print-outs on Todashev’s “criminal history” (Id at 2);

       • Names of witnesses that were redacted in reports and interviews (Id.);

       • Details of “constant surveillance” set up by Defendant Savard (Id. at 3);

       • Apparent absence of warrant for April 21, 2013, seizures (Id. at 4);

       • Details of Orange County Sheriff’s Department “stage and wait” (Id. at 4);

       • Possible drone video surveillance of Todashev (Id. at 4);

       • Surveillance video of the mall parking lot altercation (Id. at 5);

       • Writing purported to admit “involvement” in Waltham murders (Id. at 6);

       • Forensic reports on crime scene and shooting (Id. at 7);

       • Tangible evidence for modeling and testing by forensic experts; (Id. at 8).

       The Defendant U.S.A. had the duty to demonstrate the absence of a genuine

 issue of material fact through “discovery and disclosure materials on file and any

 affidavits.” Celotex Corp. v. Catrett, 477 U.S. 317, 323, 106 S.Ct. 2548, 91

 L.Ed.2d 265 (1986). Of course, the U.S.A. was handicapped because there were no

 such materials on file. In fact, it had to “produce discovery” in a sense, by un-

 redacting its own document to make a point it thought necessary. (Doc. 75-1).

       Plaintiff ultimately made a full presentation under Fed.R.Civ.P. 56(d) in


                                           26
Case 6:17-cv-00919-CEM-GJK Document 89 Filed 09/17/18 Page 27 of 27 PageID 1104




 response to the Motion to Dismiss by Defendant Gagne. (Doc. 86-1). To respond,

 as the Court has, that the information came at the wrong place and time, is to

 elevate form over substance at the expense of the preference to resolve cases on the

 merits. It was never a case of partial discovery or prematurely ended discovery.

 Because of the stay, Plaintiff never received any discovery whatever at any time.

       WHEREFORE, Plaintiff moves this Court grant Plaintiff’s Motion to Alter

 or Amend Judgment in order to prevent a manifest injustice.

  Respectfully Submitted,                   s/ James V. Cook________________
                                            JAMES V. COOK, FBN 0966843
                                            Law Office of James Cook
                                            314 West Jefferson Street
                                            Tallahassee, FL 32301
                                            (850) 222-8080; 561-0836 fax
                                            cookjv@gmail.com

 I CERTIFY that I have consulted with counsel for the Defendants, pursuant to
 Local Rule 3.01(g) and counsel for the Defendants do object to the Motion.

 I CERTIFY the foregoing was filed on 9/17/2018, and thereby served on counsel
 of record registered to be notified by the CM/ECF electronic mail system:

                                               s/James V. Cook_________________
                                               JAMES V. COOK




                                          27
